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                                                                              3


                                                                                         Feb 16, 2021
                             U NITED STA TES D ISTR IC T C O U RT
                             SO UTH ERN D ISTR ICT O F FLO RID A
    21-20092-CR-DIMITROULEAS/BECERRA
               CA SE N O :
                                           18 U.S.C.j111(a)(1)
    UN ITED STA TES O F A M ERIC A

    VS.

    K END R IC K M ITC H D O R C ELY ,

              Defendant.
                                                /

                                           IN DIC TM EN T

          The Grand Jury charges that:

          On oraboutA pril2,2020,in M iam i-D ade C ounty,in the Southern DistrictofFlorida,the

  defendant,

                               K END R IC K M IT CH D O R CELY ,

  did forcibly assault,resist,oppose,impede,intim idate,and interfere w ith 1ûJ.C.,''an em ployee of

  the United Statesand ofan agency in a branch ofthe United States Governm entdesignated in Title

  18,U nited States Code,Section 1114,thatis,the U nited States Bureau of Prisons,w hile ûûJ.C.''

  wasengaged in and on accountofthe perform ance ofhis officialduties,and in the com m ission of

  the offense,did m ake physicalcontactw ith itJ.C.,''in violation ofTitle l8,United States Code,

  Section l11(a)(l).
                                              A TRU E 1LL


                                              FO R P R SON
          %*A %                *       J
  A RIA NA FAJA RD O O RSH AN
  UN ITED STA TES ATTO RN EY

          X 07 w . *=v.*
  JON A TH AN BA ILYN
  A SSISTAN T U N ITED STATES ATTO RN EY
Case 1:21-cr-20092-WPD Document 1 Entered on FLSD Docket 02/17/2021 Page 2 of 3
                                            UNITED STATES DISTRICT f>-O IIRT
                                           SO UTH ERN DISTRICT O F FLO RIDA

UNITED S'FATES OF AM ERICA

                                                        C ERTIFICATE O F TRIA L ATTO RNEYA
K EN D RIC K M ITC H DO RC ELY,
                                                        Superseding C ase Inform ation:
                            Defendant.         /

CourtDivision'
             .(selectone)                               New defendantts)            Yes
.'     M iam i          Key W est                       Num berofnew defendants
       FTl-             W PB             FTP            Totalnum berofcounts

                 lhave carefully considered the allegations ofthe indictment,the numberofdefendants,the numberof
                 probable witnessesand the Iegalcomplexitiesofthe Indictment/lnformation attached hereto.
                 Iam aware thatthe information stlpplied on thisstatementwillbe relied upon by the Judges ofthis
                 Courtin Setting their calendarsand scheduling crim inaltrials tlnderthe mandate ofthe Speedy Trial
                 A ct,Title28 U .S.C .Section 3161.
                 lnterpreter:     (YesorNo)
                 Listlanguageand/ordialect
                 Thiscasewilltake 2-3 daysforthepartiesto try.
                 Please check appropriatecategory and typeofoffense Iisted below:


       I         0 to 5 days                                   Petty
       II        6 to 10 days                                  M inor
       IIl       l1to 20 days                                  M isdem.
       IV        21to 60 days                                  Felony
       V         61daysand over
       6.     H asthiscasepreviously been tiled in thisD istrictCourt?         (YesorNo)      Np..-...
        lfyes:Judge                                   CaseN o.
         (Attachcopy ofdispositiveorder)
         Hasacomplaintbeentiled inthismatter?            (YesorNo)     No
         lfyes:M agistrate CaseN o.
         Related miscellaneousnum bers:
         Defendantts)infederalcustodyasof
         Defendantts)instatecustody asof
         Rule20 from the Districtof
         lsthisapotentialdeathpenaltycase?(YesorNo)              No
                 Doesthiscaseoriginate from a matterpending intheCentralRegion ofthe U.S.Attorney'sOffice
                 priortoAugust9,2013(Mag.JudgeAlicia0.Valle)?                  Yes            No /
        8.       Doesthiscaseoriginate from a matterpending intheNorthern Region ofthe U.S.Attorney'sOftice
                 priortoAugust8,2014(Mag.JudgeShaniek Maynard)?                Yes            No z
                 D oesthiscaseoriginate from a m atterpending in theC entralRegion ofthe U .S.Attorney'sO ffice
                 priortoOctober3,20l9(M ag.JudgeJaredStrauss)?                 Yes            No ?'

                                                                ASSISTANT UVITED STATESATTORNEY

 *penaltySheetts)attached
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                           U NITED ST ATE S D ISTR ICT CO U R T
                           SO U TH ER N D ISTR ICT O F FLO RID A

                                     PENA LTY SH EET

  D efendant's Nam e: K END RIC K M IT CH D O R CELY

  C ase No:

  Count#:1



  Title18,UnitedStatesCode,Section 111(a)(1)
  *M ax.Penalty:8 Years'lm prisonm ent

  *ltefersonly to possible term ofincarceration,does notinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures that m ay be applicable.
